                       Case 4:20-cr-00266-JST Document 3 Filed 06/26/20 Page 1 of 1
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                                               1257+(51',675,&72)&$/,)251,$
                                                        SAN FRANCISCO DIVISION

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                       Plaintiff                                      67,38/$7('25'(5(;&/8',1*7,0(
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         0LFKDHO%UHQW5RWKHQEHUJ                                      AND WAIVER UNDER FRCP 5.1
         DND0LNH5RWKHQEHUJ
                       Defendant(s 

)RUWKHUHDVRQVVWDWHGE\WKHSDUWLHVRQWKHUHFRUGRQ             June 26, 2020       WKHFRXUWH[FOXGHVWLPHXQGHUWKH6SHHG\
7ULDO$FWIURPWRDQGILQGVWKDWWKHHQGVRIMXVWLFHVHUYHGE\WKH
                June  26, 2020                      August  27,  2020

FRQWLQXDQFHRXWZHLJKWKHEHVWLQWHUHVWRIWKHSXEOLFDQGWKHGHIHQGDQWLQDVSHHG\WULDOSee86&
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                  7KHFDVHLVVRXQXVXDORUVRFRPSOH[GXHWR>check applicable reasons]WKHQXPEHURI
                  GHIHQGDQWVBBBBBWKHQDWXUHRIWKHSURVHFXWLRQRUBBBBBWKHH[LVWHQFHRIQRYHOTXHVWLRQVRIIDFW
                  RUODZWKDWLWLVXQUHDVRQDEOHWRH[SHFWDGHTXDWHSUHSDUDWLRQIRUSUHWULDOSURFHHGLQJVRUWKHWULDO
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         67,38/$7(' /s/ Eugene Illovksy
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